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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

IMPLICIT, LLC,                                       §
                                                     §
                                                     §   CIVIL ACTION NO. 6:17-CV-00182-JRG
                 Plaintiff,                          §
                                                     §
v.                                                   §
                                                     §
HUAWEI TECHNOLOGIES USA, INC.,                       §
                                                     §
                 Defendant.                          §


                          ORDER TO PAY TECHNICAL ASSISTANT


        The Court previously appointed David Keyzer as technical advisor in the above-captioned

action, with his costs to be assessed equally between Plaintiff and Defendant and timely paid as billed.

(Dkt. No. 77). The Court has received Mr. Keyzer’s invoice for services through March 6, 2018, in

the amount of $25,099.92, and hereby ORDERS payment to be promptly made to Mr. Keyzer within

thirty (30) days of this Order as follows:

        Plaintiff: $12,549.96

        Defendant: $12,549.96

        TOTAL: $25,099.92

        So Ordered this
        Mar 11, 2018
